     Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 1 of 10 PageID #:8553




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



    IN RE: CHICAGO BOARD OPTIONS                             No. 18 CV 4171
    EXCHANGE VOLATILITY INDEX                                MDL No. 2842
    MANIPULATION ANTITRUST
    LITIGATION                                               Honorable Manish S. Shah

          This Document Relates to All Cases



        APPLICATION TO APPOINT SHARAN NIRMUL AS CO-LEAD COUNSEL

         Kessler Topaz appreciates the Court’s appointment of Mr. Nirmul to Plaintiffs’ Steering

Committee (“PSC”) in April and have faithfully remained committed to this litigation on behalf

of our clients and the Class. At this juncture, however, the circumstances warrant appointment of

Mr. Nirmul to a Co-Lead Counsel position. Respectfully, this appointment is in the best interests

of the Class and reflects the reality of Kessler Topaz’s leadership, institutional knowledge and

contributions to this litigation.1

         I.     KESSLER TOPAZ’S LEADERSHIP OF THIS LITIGATION TO DATE

         Our Firm’s institutional knowledge and leadership of this case to date are indisputable.

See FED. R. CIV. P. 23(g)(1)(A) (in appointing leadership, the Court must consider the work

counsel has done to date). Quinn Emanuel has acknowledged this reality, including in its recent




1
        This Court acknowledged in appointing Mr. Jonathan Bunge (of Quinn Emanuel Urquhart &
Sullivan, LLP) and Ms. Kimberly Justice (formerly of Kessler Topaz and now affiliated with Freed Kanner
London & Millen, LLC) to one-year terms as co-lead counsel in this matter that changed circumstances
may necessitate revisiting the leadership structure. See ECF No. 120 (“The point of a one-year term is to
allow me to revisit the leadership structure and change it when the case develops to a more advanced
posture.”); ECF No. 241 (stating that all leadership appointments expire on August 1, 2019 and that the
court “will consider restructuring the committee and appointing different lead counsel for terms to begin
on August 1, 2019”).

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    Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 2 of 10 PageID #:8553




filing following Ms. Justice’s departure from our firm. See ECF No. 240 at ¶¶ 2-3 (“The Kessler

team has unique experience and expertise in the subject matters of this cases [sic] – securities and

market manipulation claims. . . . We believe that it is in the best interest of the class for the current

Kessler team to continue to work together on this matter.”); id. at ¶ 3 (“There is a lot of background

and expertise that the current Kessler team has acquired. . . .”); id. at ¶ 4 (recognizing Mr. Nirmul

“has been actively involved in the case”); id. (suggesting Mr. Nirmul could be appointed “as a

third co-lead”). So too did this Court when it provided an interim solution of immediately

appointing Mr. Nirmul to the PSC on April 16, 2019.2

        This is not surprising. Our lawyers have led and participated in every material aspect of

this litigation. Current partners at the firm, including Mr. Nirmul, were the architects of the initial

Doe Defendant-theory of liability and filed the first VIX-related class action, Samuel v. Does, in

February 2018—a fact Ms. Justice highlighted and relied on in her initial application for

leadership. See ECF No. 91 at 9-10. As the Court is aware, the initial Doe Defendant-theory of

liability was copied in virtually every subsequently filed complaint.3

        Since centralization and the Court’s leadership appointments in August 2018, the Kessler

Topaz team has: (i) worked to develop, draft and file the consolidated complaint; (ii) managed the

Firm’s in-house investigators—the only investigators assigned to this matter to date; (iii) defended




2
        Specifically, the Court stated that Ms. Justice “will remain co-lead counsel for now” and
“immediately appointed” Mr. Nirmul to the PSC to “allow for continuity of assignments and to allow the
Kessler Topaz clients to have a role in directing the case.” ECF No. 241.
3
         Rather than repeat here, we respectfully refer the Court to our previous submission where we
delineate Mr. Nirmul’s and the Firm’s: (i) experience in handling complex class actions and similar claims;
and (ii) knowledge of the applicable law—two factors the Court must also consider. See ECF No. 228.
Indeed, the Court has already considered and credited the Firm’s experience and the knowledge it brings to
bear in multifaceted class actions like this, which involve complex financial instruments and theories.
Those credentials remain in place today.

                                                    2
    Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 3 of 10 PageID #:8553




Plaintiffs’ claims against CBOE in motion to dismiss briefing4; (iv) worked closely with several

industry and economic experts; and (v) prepared and worked through expedited discovery requests.

        Ms. Justice and Mr. Bunge highlight and rely on these very same acts and contributions in

support of their Joint Application for Re-Appointment. See ECF No. 265 at 2. But omitted from

their filing is that each and every effort Ms. Justice and Mr. Bunge identify as having been made

by “Co-Lead Counsel”—including those undertaken since April—in truth has involved the Kessler

Topaz team.

        We, together with Quinn Emanuel and Ms. Justice, developed and drafted the Amended

Complaint (ECF No. 263), working extensively (on a daily basis) with retained market and

economic experts to create, develop and refine analyses critical to Plaintiffs’ claims.               We

participated in regular strategic discussions with Quinn Emanuel and Ms. Justice. We also served

as the primary liaison between Plaintiffs’ experts and counsel for named Plaintiffs (other than those

represented by Quinn Emanuel or Ms. Justice). No other member of the PSC has been involved

in these aspects of this case, worked with our experts, or participated in the daily management

and litigation of this matter.

        In their brief, Ms. Justice and Mr. Bunge argue that the “value of developed institutional

knowledge” is immeasurable. ECF No. 265 at 3. We agree. Kessler Topaz’s commitment to this

case, and the Firm’s institutional knowledge of the law and facts underlying the Class’s claims, is

indisputable; and any suggestion that Kessler Topaz and other members of the PSC are similarly

situated is, respectfully, demonstrably false.




4
        Kessler Topaz’s litigators, along with Quinn Emanuel and Ms. Justice (while she was a member of
our Firm), successfully defended critical elements of Plaintiffs’ claims against CBOE’s motion to dismiss,
including overcoming what would have been a dispositive immunity defense.


                                                    3
    Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 4 of 10 PageID #:8553




        II.     KESSLER TOPAZ’S COMMITMENT AND                                  CONTRIBUTION              OF
                RESOURCES TO THIS LITIGATION TO DATE

        Kessler Topaz’s unwavering commitment of resources to this litigation is also beyond

dispute, and cannot be ignored in the Court’s reconsideration of the leadership structure and

whether the existing structure serves the best interests of the Class.

        Kessler Topaz has been retained by more named Plaintiffs than any other firm. Four of

the twelve named Plaintiffs in the Amended Complaint are clients of Kessler Topaz.5 This is more

than any other law firm in this case, including Freed Kanner and Quinn Emanuel (who each

represent one Plaintiff—Brian Barry and Spencer Bueno, respectively). Notably, none of Kessler

Topaz’s clients elected to be represented by Ms. Justice after her departure. 6 The Court has already

acknowledged the importance of these Plaintiffs’ ability to direct the litigation. See ECF No. 241.

Collectively, Kessler Topaz’s clients traded in all VIX products on which Plaintiffs’ claims are

based (VIX Options, VIX Futures, and VIX ETPs) and sustained considerable losses as a result of

the alleged misconduct. Notably, following the Court’s repositioning of leadership in April 2019,

neither of the remaining co-lead counsel represents a Plaintiff with a CEA claim against either

CBOE or the Doe Defendants.

        Kessler Topaz has expended hundreds of thousands of dollars for litigation expenses.

Kessler Topaz’s willingness to finance more than half of this litigation since the Court’s initial

leadership appointment in August 2018 cannot be ignored. Our Firm, along with Quinn Emanuel,



5
        As the Court is aware, one of Kessler Topaz’s clients, Mr. Samuel, “filed the first of these
consolidated actions,” which “is clearly the template for the great majority of the cases filed since and here
consolidated.” In re GSE Bonds Antitrust Litig., 377 F. Supp. 3d 437, 438 (S.D.N.Y. 2019) (appointing
counsel for plaintiff in first-filed action).
6
        Ms. Justice subsequently entered her appearance on behalf of Mr. Barry, a plaintiff represented by
Robins Kaplan, one of the supporting law firms listed in footnote 4 of Ms. Justice’s and Mr. Bunge’s
application.

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  Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 5 of 10 PageID #:8553




has funded the entire prosecution of this case (including since April) by covering all expenses to

date, which have been considerable because of the extensive expert analysis necessary to develop

the claims. No other firm has sought to make a financial contribution.

       These contributions reflect our ongoing commitment to this case and ability to ensure the

Class is provided with every resource necessary. See In re Treasury Sec. Auction Antitrust Litig.,

2017 WL 10991411, at *2 (S.D.N.Y. Aug. 23, 2019) (appointing lead counsel with demonstrated

financial and other essential resources where “action has required, and will continue to require, the

investment of enormous resources”). Financial resources are (and will continue to be) critical to

Plaintiffs’ ability to prosecute their market manipulation claims here, which require extensive

expert attention and analysis as reflected in the recently filed Amended Complaint.

       Kessler Topaz has devoted thousands of attorney hours to this case. Kessler Topaz has

committed approximately 3,500 hours of attorney and professional staff time (excluding all of Ms.

Justice’s time spent while employed by Kessler Topaz) to advancing Plaintiffs’ claims and legal

theories, including more than 500 hours since April 2019. Similar to the expenses in this litigation,

we fully expect this level of commitment to be sustained if not increased as this case unfolds.

       Kessler Topaz’s leadership position furthers diversity and career development of

associates. Mr. Nirmul is the only lawyer of color working on the daily prosecution of this

litigation. His appointment ensures that the case’s leadership is a better reflection of the Class

itself. Stacey Kaplan, a partner in Kessler Topaz’s California office, has served in a lead role for

our team since August 2018. Ms. Kaplan is the only woman actively litigating the case apart from

Ms. Justice and brings to bear exceptional institutional knowledge of the facts and command of

the applicable legal framework. Additionally, Joshua Materese, an associate with Kessler Topaz,

continues to take a leadership role in all aspects of this case, especially in working closely with



                                                 5
    Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 6 of 10 PageID #:8553




our experts and liaising with other PSC members and law firms whose clients are also named

Plaintiffs. He and Mr. Toby Futter from Quinn Emanuel have served as the two primary associates

on this case since August 2018.

        Courts regularly appoint co-lead counsel firms that “have already invested

significant resources into the investigation and prosecution of this case” because those “firms have

a strong incentive to persist in that effort.” In re 5-Hour Energy Mktg. v. Innovation Ventures,

LLC, 2013 WL 12134144, at *5 (C.D. Cal. Nov. 8, 2013). This logic applies with full force here.

        III.    THE STATUS QUO IS INEQUITABLE AND UNTENABLE

        Kessler Topaz has served in either a formal (through April 2019) or de facto (from April

2019 forward) leadership role for the entirety of this case, as the foregoing facts conclusively

demonstrate. Both Quinn Emanuel and Ms. Justice have acknowledged in no uncertain terms

Kessler Topaz’s critical role in leading this case. See pp. 1-2, supra (quoting ECF No. 240 at ¶¶

2-4); ECF No. 91 (Ms. Justice’s initial leadership application in support of appointing Kessler

Topaz, stating “[t]here is no credible argument that any firm or group of lawyers applying for

leadership has done more than KTMC” and that “KTMC’s long track record of success prosecuting

complex class actions against financial institutions made it exceptionally well qualified to serve as

lead counsel here”). Indeed, our lawyers “have steeped themselves in this extremely complex case

for more than a year now.” ECF No. 265.

        Yet, despite that Kessler Topaz (i) represents four of the twelve named Plaintiffs and

(ii) has operated as a partner in litigating and funding (exclusively with Quinn Emanuel) this case,

the Firm has no authority over critical decisions regarding litigation strategy, case management,

staffing, and even the allocation of litigation fund contributions.7 Kessler Topaz has served as lead


7
       This incongruity manifested itself most recently in Kessler Topaz being removed from the signature
block of the Amended Complaint despite our firm’s shared responsibility (with Quinn Emanuel and

                                                   6
  Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 7 of 10 PageID #:8553




counsel, co-lead counsel and as a member of steering committees in countless cases but we are not

aware of any MDL (or class action in general) where, as here, a law firm that has shared equally

in the work to date (as both Quinn Emanuel and Ms. Justice must concede), and is a primary funder

of expenses, lacks any authority over or ability to direct the litigation.

       Moreover, our clients selected Kessler Topaz to represent their interests based on the

Firm’s considerable resources and experience, and continue to want Kessler Topaz to have the

ability to meaningfully control this litigation. We respect Ms. Justice’s decision to seek new

opportunities but the Court’s appointment of Ms. Justice was based, in part, on our Firm’s strength,

size and experience. Since inception, we have deployed the full scope of these resources for the

Class’s benefit. It cannot be that the Court’s appointment of Ms. Justice in an individual capacity

was intended to be divorced entirely from the work our Firm did (and continues to do) and the

resources we bring on the Class’s behalf. Nor could the Court have intended that Ms. Justice’s

individual appointment would, following her departure from Kessler Topaz, result in a “status

quo” that is plainly inequitable and places our Firm and our clients in an untenable and

unprecedented position.

       We note finally that Ms. Justice and Mr. Bunge tout the support from current PSC members

and other counsel of the “status quo.” ECF No. 265 at n.4. This was surprising (particularly the

reference to other counsel in a footnote of their brief, who have had limited to no role in this

litigation to date) and should be given little to no weight for the same reasons Quinn Emanuel




Ms. Justice) for all material aspects of the development of both the Amended Complaint and preceding
Consolidated Complaint, and our representation of one-third of the named Plaintiffs.


                                                   7
    Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 8 of 10 PageID #:8553




derided in connection with its initial leadership papers.8 In addition, while other firms may support

the “status quo” for various reasons, no other firm before the Court faces a similar predicament as

Kessler Topaz.

        For all of these reasons and those in Kessler Topaz’s prior submissions with respect to

leadership in this litigation, we respectfully request that the Court appoint Mr. Nirmul as Co-Lead

Counsel.


Dated: August 2, 2019                                 Respectfully submitted,

                                                      /s/ Sharan Nirmul
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8
        Specifically, Quinn Emanuel’s brief stated:

             Courts recognize that support from other firms for a “consensus proposal” is irrelevant
             because it is self-serving. See In re Air Cargo Shipping Servs. Antitrust Litig., 240
             F.R.D. 56, 58 (E.D.N.Y. 2006) (“[T]he number of attorneys supporting a given
             candidacy is not included among the factors set forth in Rule 23(g)”). And they
             recognize such support can be a red flag that behind doors quid-pro-quo deal-making
             has occurred, at the expense of the class. See Third Circuit Task Force, Report on
             Selection of Class Counsel, 74 Temp. L. Rev. 689, 697 (2001) (“[V]oluntary
             agreements among lawyers may create cartel-like groupings . . . In order to reach a
             ‘deal,’ lead counsel may have to ‘cut in’ so many lawyers that the representation of
             the class becomes inefficient and the ultimate fee request becomes inflated.”).

ECF No. 102 at 2.

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   Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 9 of 10 PageID #:8553




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                                         2
 Case: 1:18-cv-04171 Document #: 267 Filed: 08/02/19 Page 10 of 10 PageID #:8553




                                CERTIFICATE OF SERVICE

       I, Sharan Nirmul, hereby certify that on August 2, 2019, I electronically filed the foregoing

document using the CM/ECF system, and have verified that such filing was sent electronically

using the CM/ECF system to all parties who have appeared with an email address of record.


                                                     /s/ Sharan Nirmul
                                                     Sharan Nirmul
